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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:20-cv-03242-KLM

   MIDLAB, INC., a Tennessee Corporation,

   Plaintiff,

  v.

   ZAP! Products, Inc., a Colorado Corporation; Merrie Pisano Wycoff individually and as
   trustee of The Wycoff Family Trust; Wycoff Financial, LLC, a Colorado Limited Liability
   Company; Magnus Veritas LLC, a Colorado Limited Liability Company; and GCS452,
   LLC, a Colorado Limited Liability Company,

   Defendants.


   DEFENDANTS’ SUPPLEMENTAL RESPONSES TO PLAINTIFF’S FOURTH SET OF
                        WRITTEN DISCOVERY

          Defendants, by and through their counsel, hereby serve their Supplemental Responses to
  Plaintiff Midlab, Inc.’s Fourth Set of Written Discovery as follows.


          INTERROGATORIES
          12.     Identify—with reference to names of banking institutions, account owner, account
  number, dates, and amounts—the specific source of funds, with a description tracing back those
  funds at each step to life insurance policies or other funds, for the $1,275,000 and $2,500,000
  identified as coming from buyer on the documents originally bates labeled WYCOFF000066 and
  WYCOFF000067, respectively (Fidelity National Title Company and Land Title Guarantee
  Company settlement statements).
          RESPONSE: In addition to their prior response and objections, which are incorporated
  herein by reference, and subject to and without waiving these objections, Defendants state the
  following:




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          Azuraye Wycoff, as beneficiary of insured Jeffrey Wycoff, received a death benefit from
  Voya Financial/ING of $3,004,448.18 on April 14, 2018. $2,600,000 was deposited with Bank
  of New York Mellon Trust.
         Devon Wycoff, as beneficiary of insured Jeffrey Wycoff, received a death benefit from
  John Hancock/Manufacturer's Life of $3,005,319.14 on April 20, 2018. $2,600,000 was
  deposited with Bank of New York Mellon Trust.
         Devon Wycoff, as beneficiary of insured Jeffrey Wycoff, received a death benefit from
  Transamerica/Life Investors Insurance of $500,000, which was deposited with Bank of New
  York Mellon Trust.
         Azuraye Wycoff and Devon Wycoff, as beneficiaries of insured Jeffrey Wycoff, received
  death benefits from Transamerica in the amounts of $250,000 each, which amounts were
  deposited with Bank of New York Mellon Trust, Azuraye Wycoff Trust and Devon Wycoff
  Trust, respectively.
         Devon Wycoff, as beneficiary of insured Jeffrey Wycoff, received death benefits from
  Transamerica in the amount of $200,000, which amount was deposited with Bank of New York
  Mellon Trust.
         Azuraye Wycoff and Devon Wycoff, as beneficiaries of insured Jeffrey Wycoff, received
  death benefits on May 2, 2018 from Transamerica in the amounts $1,002,627.82 and
  $500,543.22, respectively, which amounts were deposited with Bank of New York Mellon Trust,
  Azuraye Wycoff Trust and Devon Wycoff Trust.
         REQUESTS FOR PRODUCTION
         32.      Produce all communications between Azuraye Wycoff and Merrie Wycoff related
  in any way to the Farm from January 1, 2017, to the present.
         RESPONSE: In addition to their prior response and objections, which are incorporated
  herein by reference, and subject to and without waiving these objections, including the objection
  regarding attorney client privileged communications, which is specifically reserved, Defendants
  will produce previously redacted documents in unredacted form. This production is not a waiver
  of attorney client privilege.




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         34.     Produce all communications between Azuraye Wycoff and Devon Wycoff
  related in any way to the Residence from January 1, 2017, to the present.
         RESPONSE: In addition to their prior response and objections, which are incorporated
  herein by reference, and subject to and without waiving these objections, Defendants will
  produce responsive non-privileged documents.
         35.     Produce all communications between Azuraye Wycoff and Devon Wycoff
  related in any way to the Farm from January 1, 2017, to the present.
         RESPONSE: In addition to their prior response and objections, which are incorporated
  herein by reference, and subject to and without waiving these objections, Defendants will
  produce responsive non-privileged documents.
         40.     Produce all communications between Devon Wycoff and Merrie Wycoff related
  in any way to the Farm from January 1, 2017, to the present.
         RESPONSE: In addition to their prior response and objections, which are incorporated
  herein by reference, and subject to and without waiving these objections, Defendants will
  produce responsive non-privileged documents.
         41.     Produce all communications between Devon Wycoff and Merrie Wycoff related
  in any way to the Residence from January 1, 2017, to the present.
         RESPONSE: In addition to their prior response and objections, which are incorporated
  herein by reference, and subject to and without waiving these objections, Defendants will
  produce responsive non-privileged documents.
         43.     Produce all correspondence between Merrie Wycoff or Jeff Wycoff and Edward
  Certisimo regarding any trust or insurance policy from 2015 to the present.
         RESPONSE: In addition to their prior response and objections, which are incorporated
  herein by reference, and subject to and without waiving these objections, Defendants will
  produce additional responsive non-privileged documents.
         45.     Produce all communications with BNY Wealth Management pertaining to life
  insurance, life insurance proceeds, the Farm, or the Residence between January 1, 2017, and the
  present.




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         RESPONSE: In addition to their prior response and objections, which are incorporated
  herein by reference, and subject to and without waiving these objections, Defendants will
  produce responsive non-privileged documents.
  Dated: October 1, 2021


                                               _s/ Steven E. Abelman_______

                                               Steven E. Abelman
                                               Brownstein Hyatt Farber Schreck, LLP
                                               410 17th Street, Suite 2200
                                               Denver, CO 80202
                                               sabelman@bhfs.com
                                               Counsel for Defendants


                                   CERTIFICATE OF SERVICE

         I hereby affirm that on October 1, 2021, I emailed the foregoing to the following:

  Aaron D. Goldhamer
  Ross W. Pulkrabek
  Keating Wagner Polidori Free, P.C.
  1290 Broadway, Suite 600
  Denver, Colorado 80203
  303.534.0401
  Attorneys for Plaintiff


                                               s/ Catherine Olguin_________
                                               Catherine Olguin, Paralegal




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                                           VERIFICATION

          I, Azuraye Wycoff, affirmatively state, under penalty of perjury, that I have reviewed
  DEFENDANTS’ ANSWERS TO PLAINTIFFS’ INTERROGATORY NO. 13, and subject to
  stated objections, verify that the responses to the Interrogatories are true and correct to the best
  of my knowledge, information, and belief.

  Dated ___day of October, 2021.



                                                         ____________________________________
                                                         Azuraye Wycoff




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                                           VERIFICATION

          I, Devon Wycoff, affirmatively state, under penalty of perjury, that I have reviewed
  DEFENDANTS’ ANSWERS TO PLAINTIFFS’ INTERROGATORY NO. 13, and subject to
  stated objections, verify that the responses to the Interrogatories are true and correct to the best
  of my knowledge, information, and belief.

  Dated ___day of October, 2021.



                                                         ____________________________________
                                                         Devon Wycoff




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